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Track Another Package --

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WYOMING, MI 49509.

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June 13, 2078 at 10:37 am
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Get Updates \/

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June 13, 2018, 16:37 am

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WYOMING, MI 49509

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49599.

June 12, 2018, 17:30 pm
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June 2, 2018, 8:49 am
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BRIGHTON, Mi 48114

June 1, 2018, 4:22 pm
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BRIGHTON, MI 48114

June 1, 2018
in Transit to Next Facility

June 1, 2018, 9:38 am
Arrived at Unit
BRIGHTON, Mi 48776

May 31, 2018, 11:46 am
Arrived at USPS Regional Facility
DETROIT MI DISTRIBUTION CENTER

May 30, 2018, 7:56 pm
Arrived at USPS Regional Facility
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June 13, 2018 at 10:37 am
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Your item was delivered to an individual at the address at 10:37 am on June 13, 2018 in WYOMING, MI
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